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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION


                                              )
 STATE OF TEXAS,                              )
 STATE OF MISSOURI,                           )
                                              )
         Plaintiffs,                          )
                                              )
         v.                                   )       Civil Action No. 2:21-cv-00067-Z
                                              )
 JOSEPH R. BIDEN, JR.,                        )
 in his official capacity as                  )
 President of the United States, et al.,      )
                                              )
         Defendants.                          )
                                              )


      JOINT ADVISORY CONCERNING SUBMISSION OF JOINT STATEMENT ON
                             SCHEDULING

         On August 8, 2022, Plaintiffs filed an amended complaint challenging the October 29, 2021

Memorandum terminating the Migrant Protection Protocols (MPP) and motion to postpone the

effective date of that memorandum under 5 U.S.C. § 705.

         The parties have met and conferred and respectfully notify the Court of their intention to

submit a joint statement with proposals on how this case should proceed moving forward by

August 9, 2022. The parties request that the Court not issue a scheduling order in this case until it

has had an opportunity to review the joint statement.

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Dated August 8, 2022.                         Respectfully submitted,
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 8, 2022, I electronically filed this motion with the Clerk of

the Court for the United States District Court for the Northern District of Texas by using the

CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.


                                                      /s/ Ryan D. Walters
                                                     RYAN D. WALTERS




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